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UNITED STATES DISTRICT COURT                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                            ELECTRONICALLY FILED
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 BYTEMARK, INC.,                                         DATE FILED:          q/
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                                Plaintiff,

                    -against-                                          ORDER
 XEROX CORP., ACS TRANSPORT                                      17 Civ. 1803 (PGG)
 SOLUTIONS, INC., XEROX
 TRANSPORT SOLUTIONS, INC.,
 CONDUENT INC., and NEW JERSEY
 TRANSIT CORP.

                                Defendants.
PAUL G. GARDEPHE, U.S.D.J.:

               PlaintiffBytemark, Inc. brings this action against Defendants Xerox Corp., ACS

Transport Solutions, Inc. ("ACS Transport"), Xerox Transport Solutions, Inc. ("Xerox

Transport") (collectively the "Xerox Entities"), Conduent Inc., and New Jersey Transit Corp.

("NJ Transit") (collectively "Defendants"), asserting claims for patent infringement, breach of

contract, trade secret misappropriation, tortious interference with business relations, unfair

competition, and unjust enrichment. (See First Am. Cmplt. ("FAC") (Dkt. No. 40) ,r,r 1, 3)

Bytemark alleges that it entered into a series of confidentiality agreements with ACS Transport

and Xerox Transport for the purpose of developing joint bids to provide mobile ticketing

solutions to prospective clients in the mass transit industry. @   ,r 29)   After Bytemark disclosed

its trade secrets, however, the Xerox Entiti~s cut Bytemark out of the bidding process and used

Bytemark's trade secrets and intellectual property to secure a contract with NJ Transit. @       ,r 33)
Conduent allegedly has assisted the Xerox Entities in utilizing Bytemark's proprietary

technology, and worked together with the Xerox Entities and NJ Transit to sell Bytemark's
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proprietary technology to prospective customers. (See id. 'i['i[ 35-36) Bytemark now seeks

damages related to Defendants' alleged misuse of its proprietary information.

                  Defendants have moved to dismiss Counts One, Two, Eight, and Nine as to all

Defendants, and Count Ten as to Defendants Conduent and NJ Transit. (Mot. (Dkt. No. 51) at 1-

2)1 For the reasons stated below, Defendants' motion to dismiss Counts Eight, Nine, and Ten

will be granted in part, and denied in part. Defendants' motion regarding Counts One and Two -

Plaintiffs patent infringement claims - will be addressed in a separate order.

                                          BACKGROUND2

I.      FACTS

        A.        The Parties

                  Bytemark provides secure mobile ticketing platforms for transit, tourism, and

events through smartphone apps, point-of-sale plugins, and open application programming

interfaces ("APis"). (FAC (Dkt. No. 40) 'i[ 3) Bytemark is also the owner of certain trade secrets

and patents related to the development and implementation of its mobile ticketing applications -

such as its V3 Ticketing Technology- and has secured contracts across the mass transit industry,

including a contract with New York Waterway - the largest private ferry operator in the United

States. (IQ,_ 'i['i[ 21-23, 25)

                  Xerox Corp. sells business services and document technology products. (IQ,_ 'i['i[ 4-

5)




1 The page numbers of documents referenced in this Order correspond to the page numbers
designated by this District's Electronic Case Filing system.
2 Unless otherwise noted, the following facts are drawn from the First Amended Complaint, and

are presumed true for purposes ofresolving Defendants' motion to dismiss. See Kassner v. 2nd
Ave. Delicatessen, Inc., 496 FJd 229, 237 (2d Cir. 2007).
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               ACS Transport and Xerox Transport are divisions of Xerox Corp., are

incorporated in Georgia, and have their principal places of business in Texas.   M ,r,r 7-8, 10-11)
Xerox Corp. acquired ACS Transport's parent company-Affiliated Computer Services, LLC-

in February 2010.   M ,r 8)   Prior to the acquisition, Xerox Corp. operated primarily as a

technology company. (@ After the acquisition, Xerox Corp. added a services operation and

was reorganized into two major divisions: Xerox Technology and Xerox Services.        <14:)
Affiliated Computer Services served as Xerox Corp. 'score business process service, and became

known as "ACS, A Xerox Company" and "Xerox/ACS." (hi. ,r 8) At all relevant times, ACS

Transport was subject to Xerox's "complete direction and control" and was - "in form and

substance[]" - the same as Xerox. (Id.)

               In January 2014, Xerox Transport changed its name to "ACS Transport Solutions,

Inc." (Id. ,r 11) At all relevant times, Xerox Transport/ACS Transport Solutions was subject to

the complete direction and control of Xerox. (hi.)

               In 2016, Xerox Corp. split into two publicly traded companies: Conduent and

Xerox Corp. (Id. ,r,r 9, 14) Conduent formally came into existence in January 2017. @         i! 14)
Xerox Corp. retained the document technology operations, while Conduent assumed the business

process services arm of the company. (Id. ,r,r 9, 14)

               NJ Transit is a public transportation system that operates buses, light rail, and

commuter trains in New York, New Jersey, and Pennsylvania. (lg,_ ,r 16)

       B.      Defendants' Alleged Misuse of Plaintiff's Proprietary Information

               Bytemark owns two patents related to its visual validation mobile ticketing

applications - Patent No. 8,494,967 (the "'967 patent"), and Patent No. 9,239,993 (the "'993

patent"). (hi. ,r,r 21-22, Ex. A ('967 Patent) (Dkt. No. 40-2), Ex. B ('993 Patent) (Dkt. No. 40-



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3)) The '967 Patent was issued on July 23, 2013, while the '993 Patent was issued on January

19, 2016. (See id., Ex. A ("967 Patent) (Dkt. No. 40-2) at 1, Ex. B ('993 Patent) (Dkt. No. 40-3)

at 1)

               Both patents are entitled, "Method and System for Distributing Electronic Tickets

with Visual Display." (See id.) According to the patent abstracts, each invention "discloses a

novel system and method for distributing electronic ticketing such that the ticket is verified at the

entrance to venues by means of an animation or other human perceptible verifying visual object

that is selected by the venue for the specific event." ilil,_) The patent abstracts further explain

that this ticketing technology improves the ticket and payment experience for consumers and

merchants, by removing the need for a bar-code scanner on an LCD display, "speed[ing] up" the

ticket verification process, "maintain[ing] a persistent communication channel with the user

device in order to control the ticket verification process," and allowing for ticket verification "in

the absence of a network connection." (Id.)

               Bytemark also owns trade secrets related to the design of applications, technical

support systems, and back-end management technical support and service of its mobile ticketing

applications. (FAC (Dkt. No. 40) ,r,r 25, 86, 101, 115) These trade secrets include "proprietary

mobile development technology and know-how, design and implementation of mobile ticketing

technology applications including those relating to its patented visual validation systems, back-

end application and system management, maintenance and service, user data and account

management and associated features, and aspects of Bytemark's pricing, sales initiati:"es and

profit generation paradigm." (Id.) Bytemark takes reasonable measures to protect its trade

secrets and confidential information by, inter alia, requiring third parties and employees to sign

confidentiality agreements before disclosing any confidential information to them. ilil,_ ,r 27)



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               In the spring of 2012, Bytemark entered into a series of Nondisclosure .

Agreements ("NDAs") and Teaming Agreements (collectively, "the Confidentiality

Agreements") with ACS Transport and Xerox Transport for the purpose of developing joint

proposals and bids to provide mobile ticketing solutions to clients in the mass transit industry.

(Id. ,i 29) The NDAs and Teaming Agreements between Bytemark and ACS Transport identify

ACS Transport as "A Xerox Company," and the NDAs between Bytemark and Xerox Transport

feature the "Xerox" logo. (lg,_)

               In the Confidentiality Agreements, ACS Transport, Xerox Transport, and

Bytemark agreed that "no title, license, intellectual property rights, or any other right of

ownership or use shall be granted (expressly, by implication, or by estoppel) to the receiving

party under any patent, trademark, copyright, or trade secret owned or controlled by the

disclosing party by the disclosure of proprietary information." (lg,_ ,i 30)

               Pursuant to the Confidentiality Agreements, Bytemark disclosed its trade secrets

and confidential information to the Xerox Entities on numerous occasions between 2012 and

2015. (lg,_ ,i 31) During this period, Bytemark continued to refine and develop its mobile

ticketing technology and systems, as well as the management and support services for its

technology. @ ,i 32) Bytemark disclosed these improvements to the Xerox Entities. @)

               Bytemark asserts that after it disclosed its proprietary information to the Xerox

Entities, the Xerox Entities cut Bytemark out of a joint bidding effort aimed at NJ Transit. (kl,_ ,i

33) The Xerox Entities then "used and/or disclosed" Bytemark's patents and trade secrets to bid

for, and secure, a contract with NJ Transit without Bytemark. (kl,_) The Xerox Entities

incorporated Bytemark's proprietary information into their visual validation applications - such

as their MyTix mobile application - and then sold this infringing mobile technology to NJ



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Transit.   ilil ,i 35)   On or about January 2015, Bytemark notified the Xerox Entities and NJ

Transit of their infringement and misappropriation.      M   ,i 43)

                  Since its formation in 2017, Conduent has participated in the servicing,

maintenance, and continued utilization and implementation of Bytemark's proprietary

information. (Id. ,i 35) Bytemark alleges that Conduent also "had knowledge" of the

infringement of Bytemark's proprietary technology. (Id. ,i,i 43, 52, 66)

                   At some point after the Xerox Entities sold their infringing mobile technology

application to NJ Transit, NJ Transit - "in collaboration with the Xerox Entities and Conduent[]"

- offered to provide the infringing visual validation software to New York Waterway as a part of

an integrated transportation contract, under which NJ Transit and New York Waterway would

offer integrated bus and ferry services to transportation passengers.   M iii! 36, 41-42)    At all

relevant times, NJ Transit knew that Plaintiffs mobile ticketing software was "proprietary, trade-

secret, and patent-protected property."     M   ,i 37)

                  As a result of Defendants' actions, New York Waterway declined to extend its

existing contract with Byt~mark.       M   ,i 42) New York Waterway explained that it had received

a better offer from Defendants. ilil) After Bytemark initiated this action, New York Waterway

agreed to a temporary short-term extension of its contract with Bytemark.     C1D
IL         PLAINTIFF'S UNFAIR COMPETITION
           AND UNJUST ENRICHMENT CLAIMS

                  The First Amended Complaint was filed on September 21, 2017, and asserts

claims for patent infringement, breach of contract, trade secret misappropriation, tortious

interference with business relations, unfair competition, and unjust enrichment. (See id. ,i,i 1, 44-

156) Defendants have moved to dismiss Counts Eight, Nine, and Ten of the First Amended

Complaint. (Mot. (Dkt. No. 51))


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               In Count Eight - which alleges a claim of unfair competition under New York law

against all Defendants, Plaintiff asserts that "Defendants' practicing of the claims of the Patents-

in-Suit and their unlawful use of Plaintiff's trade secrets in Defendants' applications that also

have substantially the same look and feel [as Plaintiffs applications] is likely to cause confusion

among consumers as to the origin of the technology." (F AC (Dkt. No. 40) i[i[ 134-39) Plaintiff

further alleges that Defendants acted in bad faith by leading Plaintiff to disclose its intellectual

property, trade secrets, and other confidential information "[u]nder the guise of forming a

partnership with Plaintiff," and then cutting Plaintiff out of the joint bidding effort and using

Plaintiffs proprietary information to secure their own contracts, including an integrated

transportation contract with New York Waterway. (ML ,r 136)

                Counts Nine and Ten set forth claims for unjust enrichment under New York and

New Jersey law, against all Defendants. (See id. 4i(4i( 140-56) Plaintiff alleges that by infringing

and misappropriating its patents and trade secrets, Defendants have avoided the significant time

and cost of developing their own mobile ticketing platform and have diverted substantial

revenues from Plaintiff. (ML i\4il 141-43, 149-52) As a result, Defendants have been unjustly

enriched at Plaintiff's expense. (Isl ,r,r 144, 153)

                                           DISCUSSION

I.      RULE12(b)~)STANDARD

                "To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to 'state a claim to relief that is plausible on its face."' Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). ''In considering a motion to dismiss ... the court is to accept as

true all facts alleged in the complaint," Kassner v. 2nd Ave. Delicatessen, Inc., 496 F.3d 229,

237 (2d Cir. 2007) (citing Dougherty v. Town ofN. Hempstead Bd. of Zoning Appeals, 282 F.3d



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83, 87 (2d Cir. 2002)), and must "draw all reasonable inferences in favor of the plaintiff." Id.

(citing Fernandez v. Chertoff, 471 F.3d 45, 51 (2d Cir. 2006)).

               Allegations that "are no more than conclusions, are not entitled to the assumption

of truth," however. Iqbal, 556 U.S. at 679. A pleading is conclusory "if it tenders 'naked

assertion[ s]' devoid of 'further factual enhancement,"' id. at 678, offers "'a formulaic recitation

of the elements of a cause of action,"' id., and does not provide factual allegations sufficient "to

give the defendant fair notice of what the claim is and the grounds upon which it rests." Port

Dock & Stone Corp. v. Oldcastle Northeast, Inc., 507 F.3d 117, 121 (2d Cir. 2007). While legal

conclusions "can provide the complaint's framework, they must be supported by factual

allegations." Iqbal. 556 U.S. at 679.

               "In considering a motion to dismiss for failure to state a claim pursuant to Rule

12(b)(6), a district court may consider the facts alleged in the complaint, documents attached to

the complaint as exhibits, and documents incorporated by reference in the complaint." DiFolco

v. MSNBC Cable L.L.C., 622 F.3-d 104, 111 (2d Cir. 2010) (citing Chambers v. Time Warner,

Inc., 282 F.3d 147, 153 (2d Cir. 2002); Hayden v. County ofNassau, 180 F.3d 42, 54 (2d Cir.

1999)). Additionally, "[w]here a document is not incorporated by reference, the court may

never[theJless consider it where the complaint 'relies heavily upon its terms and effect,' thereby

rendering the document 'integral' to the complaint." Id. (quoting Mangiafico v. Blumenthal, 471

F.3d 391,398 (2d Cir. 2006)).

II.    UNFAIR COMPETITION CLAIM

               Defendants have moved to dismiss Count Eight - Plaintiff's unfair competition

claim - on the grounds that: (1) it is preempted by federal patent law with respect to all of the

Defendants; (2) it is duplicative of Plaintiffs breach of contract claim in Count Three with



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respect to the Xerox Entities; and (3) Plaintiff has not alleged facts demonstrating that Conduent

and NJ Transit acted in bad faith. (Def. Br. (Dkt. No. 52) at 42-47)

               "The essence of an unfair competition claim under New York law is that the

defendant misappropriated the fruit of plaintiffs labors and expenditures by obtaining access to

plaintiffs business idea either through fraud or deception, or an abuse of a fiduciary or

confidential relationship." Telecom Int'1 Am., Ltd. v. AT & T Corp., 280 F.3d 175, 197 (2d Cir.

2001); Carson Optical Inc. v. eBay Inc., 202 F. Supp. 3d 247,267 (E.D.N.Y. 2016) ('"[T]he

essence of an unfair competition claim is that 'the defendant has misappropriated the labors and

expenditures of another' and has done so in bad faith."" (citations omitted)). New York's unfair

competition law is a "broad and flexible doctrine that depends more upon the facts set forth ...

than in most causes of action." Telecom Int'l Am., Ltd., 280 F.3d at 197. The tort "'does not

have boundless application as a remedy for unfair trade practices[, however,] ... Rather, ... the

primary concern in unfair competition is the protection of a business from another's

misappropriation of the business' organization or its expenditure oflabor, skill, and money."'

Gucci Am., Inc. v. Duty Free Apparel, Ltd., 277 F. Supp. 2d 269,275 (S.D.N.Y. 2003) (quoting

Ruder & Finn Inc. v. Seaboard Sur. Co., 52 N.Y.2d 663, 671 (1981)).

               New York law '"recognize[s] two theories of common-law unfair competition:

palming [or passing] off and misappropriation."' Carson Optical Inc., 202 F. Supp. 3d at 2n7

(quoting ITC Ltd. v. Punchgini, Inc., 9 N.Y.3d 467,476 (2007)). "Palming off ... is the 'sale of

the goods of one manufacturer as those of another."' Id. at 267-68 (citations omitted);

Punchgini, 9 N.Y.3d at 477 n. 2 ('"One of the most obvious forms' of palming off 'occurs when

the copier of an article overtly and explicitly misrepresents its source[, for example], where [a]

defendant ... substituted its product for plaintiffs when customers specifically asked for



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plaintiff's product.'" (alterations in original) (citations omitted)). "The second theory,

misappropriation, prevents individuals from 'misappropriat[ing] the results of the skill,

expenditures and labors of a competitor.'" Carson Optical Inc., 202 F. Supp. 3d at 268 (quoting

Punchgini, 9 N.Y.3d at 477).

         A.     Whether Plaintiff's Unfair Competition Claim is Preempted by Patent Law

                Defendants argue that Plaintiff's unfair competition claim must be dismissed,

because it is preempted by federal patent law. (Def. Br. (Dkt. No. 52) at 42-43)

                "Federal law preempts state law that offers 'patent-like protection' to discoveries

unprotected under federal patent law." Ultra-Precision Mfg., Ltd. v. Ford Motor Co., 411 F.3d

1369, 1376-78 (Fed. Cir. 2005). To determine whether state law torts "are in conflict with

federal patent law and accordingly preempted, [courts] assess a defendant's allegedly tortious

conduct [as follows]":

         If a plaintiff bases its tort action on conduct that is protected or governed by federal
         patent law, then the plaintiff may not invoke the state law remedy, which must be
         preempted for conflict with federal patent law. Conversely, if the conduct is not so
         protected or governed, then the remedy is not preempted. This approach, which
         considers whether a state law tort, "as-applied," conflicts with federal patent law, is
         consistent with tlrat employed by the Supreme Court in cases involving preemption of
         state unfair competition law.

Hunter Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1335 (Fed. Cir. 1998), overruled

on other grounds by Midwest Indus., Inc. v. Karavan Trailers, Inc., 175 F.3d 1356 (Fed. Cir.

1999).

                Accordingly, where a plaintiff's unfair competition claim is premised on a

defendant's alleged infringement of a patent, the claim is preempted by federal patent law. See

Carson Optical Inc., 202 F. Supp. 3d at 265 (holding that the complaint's allegation~hat

defendant's "acts of unfair methods of competition and/or unfair or deceptive trade practices



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include the bad faith and willful inducement of infringement of the 729 and 601 Patents" was

"necessarily preempted by federal patent law[]"); Sorias v. Nat'l Cellular USA, Inc., 124 F.

Supp. 3d 244,262 (E.D.N.Y. 2015) ("Plaintiffs here allege a claim for unfair competition based

only on the ... Defendants' infringement of the '486 Patent or, alternatively, on aspects of the

patent that are unprotected by federal patent law because they are not actionable trade secrets ...

. Plaintiffs' unfair competition claim, therefore, is necessarily preempted by federal patent

law."); Carson Optical, Inc. v. Prym Consumer USA, Inc., 11 F. Supp. 3d 317, 329 (E.D.N.Y.

2014) ("Plaintiffs' allegations that defendants engaged in unfair competition by copying and

reproducing Carson's products that were covered by the '726 Patent and the '779 patent ...

without more, are preempted by federal patent law because they are predicated upon plaintiffs'

claims that Prym's magnifiers infringed Carson's design patents."); Enzo Biochem, Inc. v.

Amersham PLC, 981 F. Supp. 2d 217,226 (S.D.N.Y. 2013) ("Enzo alleges that Amersham and

Applied Biosystem's conspiracy resulted in the misappropriation ofEnzo's patents. The Second

Circuit and the Supreme Court have made clear, however, that 'states cannot, under the guise of

regulating unfair competition, grant what is in effect patent protection .... ' Because Enzo seeks

only to protect its patents from misappropriation, its state-law claim for unfair competition is

preempted by federal patent law." (quoting Flexitized, Inc. v. Nat'l Flexitized Corp., 335 F.2d

774,783 n. 4 (2d Cir.1964) (citing Sears Roebuck & Co. v. Stiffel Co., 376 U.S. 225,231

(1964)))).

               "The patent laws will not preempt [state law unfair competition] claims[,

however,] if they include additional elements not found in the federal patent law cause of action

and if they are not an impermissible attempt to offer patent-like protection to subject matter

addressed by federal law." Rodime PLC v. Seagate Tech., Inc., 174 F.3d 1294, 1306 (Fed. Cir.



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1999); see also Hall v. Bed Bath & Beyond, Inc., 705 F.3d 1357, 1371 (Fed. Cir. 2013) ("Hall

argues that BB & B did not copy a publicly available product from the marketplace, but copied

his proprietary towel that he showed to BB & B in the course of discussion of a business

relationship. BB & B accepted the sample towel, and had it copied. We agree with Hall that

design patent infringement is not his only possible remedy, and that principles of patent law

preemption do not override potential causes of action based on unfair commercial practices ....

[F]ederal preemption does not apply to the circumstances set forth in the pleadings.").

               Here, Plaintiffs unfair competition claim is premised on theories of

misappropriation and "reverse passing off." (See FAC (Dkt. No. 40) ,r,r 135-36; Pltf. Br. (Dkt.

No. 54) at 27-29)

               Plaintiff alleges that "Defendants' practicing of the claims of the Patents-in-Suit

and their unlawful use of Plaintiffs trade secrets in Defendants' applications that also have

substantially the same look and feel [as Plaintiffs applications] is likely to cause confusion

among consumers as to the origin of the technology." (See FAC (Dkt. No. 40) 1136; Pltf. Br.

(Dkt. No. 54) at 28) As such, "the cause of action is principally a claim of 'reverse passing off

- that is, a claim that the defendant ... misrepresented the plaintiffs' work as its own." See

Carson Optical, Inc., 11 F. Supp. 3d at 333 (collecting cases). "A claim predicated on 'reverse

passing off,' however, is preempted by federal [patent] law because the claim is essentially a

claim for the unauthorized use of a patented product and does not contain an extra elementio

qualitatively differentiate it from one of patent infringement." Id.; cf. Colour & Design v. U.S.

Vinyl Mfg. Corp., No. 04 Civ. 8332 (MBM), 2005 WL 1337864, at *6 (S.D.N.Y. June 3, 2005)

('"In reverse passing off, the wrongdoer sells plaintiffs products as its own. It contrasts with

passing off, where the wrongdoer sells its products as the plaintiffs.' Unfair competition claims



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alleging the former are preempted because they are 'equivalent to a claim for copyright

infringement."'). Accordingly, to the extent Plaintiffs unfair competition claim is premised on

a theory of reverse passing off, it is preempted by federal patent law.

               Plaintiffs unfair competition claim is not preempted to the extent it is premised

on a misappropriation theory, however, because Plaintiffs misappropriation claim does not turn

solely on allegations that Defendants infringed Plaintiffs patents. Here, for example, the FAC

alleges that "[u]nder the guise of forming a partnership with plaintiff, Defendants led Plaintiff to

disclose its valuable intellectual property, trade secrets and other confidential information" when

Defendants "had no intention of partnering with Plaintiff." (FAC (Dkt. No. 40) i 136)

Defendants then allegedly "cut Plaintiff out of the joint bidding efforts and improperly used and

disclosed Plaintiffs patents and trade secrets to bid on and secure their own contracts, including

an integrated transportation contract with New York Waterway[]" - Plaintiffs longtime

customer. (Ml ,i,i 23, 136) As in Hall, Plaintiff unfair competition "based on [allegations] of

unfair commercial practices" is not preempted, because it includes additional elements not

addressed by federal patent law. See Hall, 705 F.3d at 1361, 1372 (unfair competition claim not

preempted by federal patent law where plaintiff alleged that he had shared proprietary

information with defendant, and defendant then made unauthorized copies of the product for

sale); Rodime, 174 F.3d at 1307 (unfair competition claim not preempted by federal patent law

where it included a showing ofunfair business practices, such as "misleading, if not outright

false, statements" by defendant). Accordingly, Defendants' motion to dismiss Plaintiffs

misappropriation theory of unfair competition will be denied.

        B.     Whether Plaintiff's Unfair Competition Claim is - as to the
               Xerox Entities - Duplicative of its Breach of Contract Claim

               Defendants argue that Plaintiffs unfair competition claim against the Xerox


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Entities is premised on the Xerox Entities' alleged breach of the Confidentiality Agreements, and

that therefore this claim must be dismissed as duplicative of Plaintiff's breach of contract claim

in Count Three. (Defs. Br. (Dk:t. No. 52) at 43-44)

               Where a plaintiffs unfair competition claim is based entirely on the same alleged

conduct proscribed by contract, and plaintiff has pled a breach of contract claim, the unfair

competition claim is dismissed as duplicative of the breach claim. See, ~ ' ScentSational

Techs., LLC v. PepsiCo, Inc., No. 13 Civ. 8645 (KMK), 2017 WL 4403308, at *18 (S.D.N.Y.

Oct. 2, 2017) at *18 (granting defendants' motion for summary judgement where plaintiffs

unfair competition claim was premised solely on defendants' breach of confidentiality

agreements); Bancorp Servs., LLC v. Am. Gen. Life Ins. Co., No. 14 Civ. 9687 (VEC), 2016

WL 4916969, at *9 (S.D.N.Y. Feb. 11, 2016) (dismissing plaintiffs' unfair competition claim

where it was "entirely based on alleged conduct that is proscribed by the 2010 NDA - namely

disclosure and use of information that was protected by the 2010 NDA[]" - and plaintiffs had not

alleged that defendant "had any duty to them independent of the 2010 NDA, nor ... alleged

circumstances extraneous to that contract in support of their non-contract claims"); RCA

Trademark Mgmt. S.A.S. v. VOXX Int'l Corp., No. 14 Civ. 6294 (LTS) (HBP), 2015 WL

5008762, at *5-6 (S.D.N.Y. Aug. 24, 2015) (dismissing unfair competition counterclaim as

duplicative of breach of contract counterclaim where the "only basis for the claim that it ha[ d]

been wronged is the contractual relationship granting itihe right to use RCA trademarks," and

"[a]bsent that contractual right, it would have no claim at all to use of the trademarks and no

legal ground for complaint regarding RCA's licensing of the trademarks to others[]"). '"It is

well-settled ... that no claim [for unfair competition] lies where its underlying allegations are

merely a restatement, albeit in slightly different language, of the 'implied' contractual



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obligations asserted in the cause of action for breach of contract.'" RCA Trademark Mgmt.,

2015 WL 5008762, at *5 (quoting Orange County Choppers, Inc. v. Olaes Enterprises, Inc., 497

F. Supp. 2d 541, 558 (S.D.N.Y.2007)).

               "When a defendant breaches its contract with a plaintiff, that defendant may also

breach an independent duty in tort[, however,] if the defendant goes beyond a mere breach of the

contract and acts in such a way that a trier of fact could infer that it willfully intended to harm the

plaintiff." Carvel Corp. v. Noonan, 350 F.3d 6, 16-17 (2d Cir. 2003) (holding that ajury could

conclude that defendant violated an independent duty in tort "by willfully causing damage to

[franchisees'] prospective business relationships," where the evidence demonstrated that

defendant instituted [a] coupon program for its gain, "at the cost of its franchisees," "with full

knowledge that doing so would damage [the franchisees'] relationships with their customers").

"A plaintiff may maintain tort claims in addition to a breach of contract claim only where 'a

legal duty independent of the contract itself has been violated."' ScentSational Techs., 2017 WL

4403308, at *18 (quoting Bayerische Landesbank, New York Branch v. Aladdin Capital Mgmt.

LLC, 692 F.3d 42, 59 (2d Cir. 2012)); Carvel Corp., 350 F.3d at 16 ("Where the plaintiff and

defendant are parties to a contract, and the plaintiff seeks to hold the defendant liable in tort, the

plaintiff must prove that the defendant breached a duty 'independent' of its duties under the

contract; otherwise plaintiff is limited to an action in contract.").

                Here, Plaintiff's unfair comp-etition claim against the Xerox Entities is not

predicated solely on the Xerox Entities' alleged breach of their contractual obligations not to use

or disclose Plaintiffs trade secrets. In addition to alleging that the Xerox Entities used and

disclosed Plaintiff's confidential information and trade secrets, Plaintiff claims that the Xerox

Entities "led Plaintiff to disclose its valuable intellectual property, trade secrets, and other



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confidential information[]" under "the guise of forming a partnership with Plaintiff." (F AC

(Dkt. No. 40) ,i,i 135-36) The Xerox Entities then "cut Plaintiff out of the joint bidding efforts"

while using Plaintiff's trade secrets to bid on and secure their own contracts, including an

integrated contract with one of Plaintiffs long-time customers-New York Waterway. (FAC

(Dkt. No. 40) ,i,i 23, 33, 36, 135-36) These allegations of wrongful conduct extraneous to the

Confidentiality Agreements are sufficient to suggest "that [the Xerox Entities] ha[ ve] done more

than simply fail to comply with the terms of the agreement[s], but rather ha[ve] undertaken

affirmative steps to intentionally harm [Plaintiff.]" See Reed Const. Data Inc. v. McGraw-Hill

Companies, Inc., 745 F. Supp. 2d 343,348,353 (S.D.N.Y. 2010) (denying motion to dismiss

because defendant's "use of deceit to access ... and steal [plaintiffs] confidential information

and its subsequent use of that information to compete with [plaintiff] 'spring from circumstances

extraneous to'" the [nondisclosure] agreements, and violated a legal duty independent of the

agreements - namely, "the duty not to misappropriate the property of another" (citations

omitted)).

               Accepting Plaintiffs allegations as true, Plaintiffs unfair competition claim is not

duplicative of its breach of contract claim. See id.; Amphenol Corp. v. Paul, No. 3:12 Civ. 543

(AVC), 2013 WL 12251356, at *7 (D. Conn. Mar. 28, 2013) ("While courts have dismissed

unfair competition claims for duplicating breach of contract claims, the instant case is

distinguishable. In the unfair competition claim, Amphenol has not simply reasserted that 'Paul

has breached and/or inevitably will breach the terms of the [Intellectual Property Agreement]

and/or Shareholder's agreements.' Rather, the complaint relies upon Paul's fraudulent and

deceptive misappropriation of Amphenol's confidential information without centering on the

contractual dispute between the parties. There are two distinct causes of action here."); Paysys



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Int'l v. Atos SE, No. 14 Civ. 10105 (SAS), 2015 WL 4533141, at *4 (S.D.N.Y. July 24, 2015)

(denying motion to dismiss unfair competition claim because "[i]t [wa]s unclear from the face of

the Complaint if the factual overlap [with the breach of contract claim] [wa]s as extensive as

defendants suggest"); Cereus Prod. Dev., Inc. v. Boom LLC, No. 14 Civ. 4292 (PAC), 2015 WL

3540827, at *7 (S.D.N.Y. June 5, 2015) ("Plaintiff may proceed with tort claims in addition to its

breach of contract claim because it has alleged tortious conduct collateral to the contract.... The

complaint clearly alleges that Defendants spoke to Aero, pitched their business based on

information improperly gleaned from Plaintiff, and made misleading statements regarding the

stability of Plaintiff's business."); Albemarle Theatre, Inc. v. Bayberry Realty Corp., 27 A.D.2d

172, 174 (1st Dept. 1967) ("The amended complaint ... contains allegations far beyond a mere

assertion of conspiracy by the defendants not to carry out the contract. It is alleged that the

defendant ... in order to improve the operating position of other theatres owned by them and run

in competition to plaintiff's Albemarle Theatre ... not only failed to operate the Albemarle

Theatre responsibly pursuant to the contract, but affirmatively, intentionally and wilfully [sic] set

out in conjunction with other defendants to destroy the value and utility of the Albemarle Theatre

henceforth as a theatre. Such allegations state a valid cause of action in tort against the

contracting parties."). Defendants' motion to dismiss Plaintiffs unfair competition claim against

the Xerox Entities will be denied.

       C.      Whether Plaintiff Has Alleged Bad Faith By Conduent and NJ Transit

               Defendants have also moved to dismiss Plaintiffs unfair competition claim

against Conduent and NJ Transit on the grounds that Plaintiff has not pled facts demonstrating

that these Defendants acted in bad faith. (Def. Br. (Dkt. No. 52)_at 44-47)

               As noted above, "the gravamen of an unfair competition claim[, under New York



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law,] is the bad faith misappropriation of a competitor's commercial advantage." MiniFrame

Ltd. v. Microsoft Corp., No. 11 Civ. 7419 (RJS), 2013 WL 1385704, at *8 (S.D.N.Y. Mar. 28,

2013) (citations omitted), aff d, 551 F. App'x 1 (2d Cir. 2013); Fairfield Fin. Mortg. Grp., Inc. v.

Luca, 584 F. Supp. 2d 479,488 (E.D.N.Y. 2008) ("'In a common law unfair competition claim

under New York law, the plaintiff must show ... bad faith."' (quoting Jeffrey Milstein, Inc. v.

Greger, Lawlor, Roth, Inc., 58 F.3d 27, 35 (2d Cir. 1995)).

               Here, the FAC alleges generally that all of the "Defendants acted in bad faith" by

leading Plaintiff "to disclose its valuable intellectual property, trade secrets, and other

confidential information[]" "[u]nder the guise of forming a partnership with Plaintiff." (F AC

(Dkt. No. 40) ,r 136) "Defendants had no intention of partnering with Plaintiff, however, and

instead ... cut Plaintiff out of the joint bidding efforts and improperly used and disclosed

Plaintiffs patents and trade secrets to bid on and secure their own contracts, including an

integrated transportation contract with New York Waterway." @)

               It is true that the FAC's allegations of bad faith focus on ACS Transport, Xerox

Transport, and Xerox Corp. (See FAC (Dkt. No. 40) ,r,r 29-35) The FAC alleges that

"[b]eginning in Spring 2012, Plaintiff entered into a series of [Confidentiality Agreements] ...

with Xerox divisions ACS and Xerox Transport for the purpose of developing joint ... bids

related to providing mobile ticketing solutions." (Id. ,r 29) Pursuant to the Confidentiality

Agreements, Plaintiff disclosed its proprietary information "to the Xerox Entities," and after

Plaintiff did so, "the Xerox Entities cut Plaintiff out of a joint bidding effort and instead used ...

Plaintiffs patents and trade secrets to bid and secure a contract with NJ Transit on their own."

(Id. ,r 33) According to the FAC, the "Xerox Entities' actions indicate that they never intended

to partner with Plaintiff[;] [r]ather, their goal was to exploit Bytemark's efforts ... for their own



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commercial advantage."    ffih ,i 34)
               Conduent is the product of a 2017 divestiture from Xerox Corp. The components

of Xerox Corp. that make up Conduent were part of Xerox Corp. in 2012 when the

Confidentiality Agreements were entered into. (See id. ,i,r 7-11, 14, 29-32) Accordingly, upon

its formation in 201 7, Conduent was aware that the Xerox Entities had misappropriated

Plaintiffs trade secrets and confidential information. (See id. ,r,r 14, 43, 52, 66, 82) Conduent

nonetheless allegedly participated in the servicing, maintenance, and continued utilization and

implementation of Plaintiffs proprietary technology. (Id. ,i,r 35, 43, 82) Conduent, in

collaboration with the Xerox Entities, is also alleged to have offered to provide New York

Waterway- Plaintiffs longtime customer-with Plaintiffs proprietary technology.          ffit ,r 36)
These allegations are sufficient to demonstrate bad faith at this stage of the litigation. See, ~ .

Capital Records, LLC v. Vimeo, LLC, No. 09 Civ. 10101 (RA), 2018 WL 1634123, at *5

(S.D.N.Y. Mar. 31, 2018) ("Plaintiffs have alleged red-flag knowledge .... [B]ad faith generally

'may be inferred from the [defendant's] actual or constructive knowledge of the [plaintiffs]'

property right .... "); Apple Indus., Inc. v. Merit Indus., Inc., No. 07 Civ. 1216 (ADS) (ARL),

2008 WL 10665120, at *5 (E.D.N.Y. Feb. 29, 2008) ("If the plaintiffs allegations are viewed as

true and Merit used Apple's proprietary information to its own advantage while excluding Apple

from participation with full knowledge of the MCD Agreement, a reasonable finder of fact could

find Merit liable for unfair competition.").

               By contrast, the FAC's unfair competition claim contains no non-conclusory

allegations as to NJ Transit. Although the FAC pleads that NJ Transit purchased mobile

technology applications from the Xerox Entities, and allegedly helped the Xerox Entities sell this

technology to New York Waterway (see FAC (Dkt. No. 40) ,i,r 33, 35-36), Plaintiff has not pled



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facts demonstrating that NJ Transit knew that the technology it purchased from the Xerox

Entities- and helped sell to New York Waterway- was Plaintiffs technology. Accordingly,

Plaintiffs bad faith misappropriation claim against NJ Transit fails.

III.   UNJUST ENRICHMENT CLAIMS

       A.      Unjust Enrichment Under New York Law

               Defendants argue that Count Nine - Plaintiffs claim for unjust enrichment under

New York law - must be dismissed, because it is duplicative of Plaintiffs contract and tort

claims. (Defs. Br. (Dkt. No. 52) at 48)

               "The basis of a claim for unjust emichment is that the defendant has obtained a

benefit which in 'equity and good conscience' should be paid to the plaintiff." Corsello v.

Verizon New York, Inc., 18 N.Y.3d 777, 790 (2012) (citations omitted). Although "[i]n a broad

sense, this may be true in many· cases, ... unjust emichment is not a catchall cause of action to

be used when others fail." Id. "[U]njust emichment under New York law 'is an equitable claim

that is unavailable where an adequate remedy at law exists."' In re Gen. Motors LLC Ignition

Switch Litig., 257 F. Supp. 3d 372,433 (S.D.N.Y. 2017) (quoting Fed. Treasury Enter.

Sojuzplodoimport v. Spirits Int'l N.V., 400 F. App'x 611,613 (2d Cir. 2010)). "It is available

only in unusual situations when, though the defendant has not breached a contract nor committed

a recognized tort, circumstances create an equitable obligation running from the defendant to the

plaintiff[,]" as in cases "in which the defendant, though guilty of no wrongdoing, has received

money to which he or she is not entitled." Corsello, 18 N.Y 3d at 790. Accordingly, "[a]n unjust

enrichment claim is not available where it simply duplicates, or replaces, a conventional contract

or tort claim." Id.

               Here, Count Nine is based on the same allegations set forth in support of



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Plaintiffs claims for patent infringement, misappropriation of trade secrets, and breach of

contract. Indeed, the FAC alleges that, "[a]s a result of Defendants' unlawful conduct including

but not limited to their infringement of Plaintiffs Patents-in-Suit and misappropriation of

Plaintiffs trade secrets, Defendants have diverted substantial revenues from Plaintiff." (F AC

(Dkt. No. 40) ,r 141) The FAC further states that "Defendants have and continue to use/and or

disclose Plaintiffs trade secrets and confidential information to develop and sell a competing

mobile ticketing platform," and that in doing so, Defendants have been unjustly enriched at

Plaintiffs expense "by saving the ... time and cost that they would otherwise have had to incur

to develop their own mobile ticketing platform." (Ml ,r,r 143-44)

               Because (1) Plaintiffs unjust enrichment claim under New York law is based on

the same factual allegations underlying its contract and tort claims; and (2) Plaintiff has not

explained how its unjust enrichment claim differs from its contract and tort claims, Plaintiffs

unjust enrichment claim under New York law will be dismissed as duplicative of its contract and

tort claims. See,~. Cont'l Indus. Grp., Inc. v. Altunkilic, No. 14 Civ. 790 (AT) (JLC), 2018

WL 1508566, at *9 (S.D.N.Y. Mar. 27, 2018) ("Plaintiffs ... submissions mentioned the unjust

enrichment theory in terms that restated other torts, specifically usurpation of corporate

opportunity and trade secret misappropriation. Plaintiff has not offered any theory explaining

how its unjust enrichment claim is distinct .... Where Plaintiff has 'fail[ed] to explain how [its]

unjust enrichment claim is not merely duplicative of their other causes of action,' it is not

cognizable." (citations omitted)); In re Gen. Motors, 257 F. Supp. 3d at 433 ("Plaintiffs' unjust

enrichment claims fail ... [b ]ecause they have adequate remedies at law.... '[f]he accusations

surrounding the plaintiffs unjust enrichment claim overlap with her fraud, fraudulent

concealment, express warranty, and [Section] 349 claims, all of which may proceed. She



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therefore may not bring an unjust enrichment claim as a catch-all cause of action.'" (citations

omitted)); Sitt v. Nature's Bounty, Inc., No. 15 Civ. 4199 (MKB), 2016 WL 5372794, at *18

(E.D .N. Y. Sept. 26, 2016) ("Because Plaintiffs unjust enrichment claims under New York law

are based on the same allegations as her claims of violations of GBL sections 349 and 350 and

breach of express warranty under New York law, and because Plaintiff has not shown how her

unjust enrichment claim differs from her other New York claims, Plaintiffs unjust enrichment

claim ... is duplicative."); Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283,297 (S.D.N.Y.

2015) (same).

       B.        Unjust Enrichment Under New Jersey Law

                 Defendants have also moved to dismiss Count Ten- Plaintiffs claim for unjust

enrichment under New Jersey law- as against Conduent and NJ Transit. (Defs. Br. (Dtk. No.

52) at 48) Defendants argue that this claim must be dismissed, because Plaintiff has not pled

sufficient facts to establish a direct relationship between Plaintiff and either Conduent or NJ

Transit. (Id.)

                 "To establish unjust enrichment under New Jersey law, 'a plaintiff must show

both that defendant received a benefit and that the retention of that benefit without payment

would be unjust."' M'Baye v. New Jersey Sports Prod., Inc., No. 06 Civ. 3439 (DC), 2007 WL

431881, at *12 (S.D.N.Y. Feb. 7, 2007) (quoting In re Rezulin Prod. Liab. Litig., 390 F. Supp. 2d

319, 342 (S.D.N.Y. 2005)). '<-[A] plaintiff must show that 'it expected remuneration from the

defendant at the time it performed or conferred a benefit on defendant and that the failure of

remuneration enriched defendant beyond its contractual rights.'" Eli Lilly & Co. v. Roussel

Corp., 23 F. Supp. 2d 460, 496 (D.N.J. 1998) (quoting VRG Corp. v. GKN Realty Corp., 135

NJ. 539,554 (1994)). "The benefit must [therefore] have been conferred on the defendant by



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plaintiff, not by a third party." M'Baye, 2007 WL 431881, at *12 (citations omitted). Moreover,

"absent a mistake by the person conferring the benefit, unjust enrichment claims [under New

Jersey law] require 'some direct relationship between the parties."' In re Rezulin Prod. Liab.

Litig., 390 F. Supp. 2d at 343 (quoting Callano v. Oakwood Park Homes Corp., 91 NJ. Super.

105, 109 (App. Div. 1966)); Hughes v. Panasonic Consumer Elecs. Co., No. CIV.A. 10-846

(SDW), 2011 WL 2976839, at *27 (D.N.J. July 21, 2011) ("To support an unjust enrichment

claim, there must be a direct relationship between the parties or there 'must be a mistake on the

part of the person conferring the benefit."' (quoting Fasching v. Kallinger, 211 NJ. Super. 26, 36

(App. Div. 1986)).

               Here, Plaintiff alleges that it "shared its valuable intellectual property, trade

secrets, and other confidential information with Defendants with the expectation of remuneration

in the form of future joint ventures and business contracts," that Defendants unlawfully infringed

and misappropriated Plaintiffs trade secrets, and that, as a result, "Defendants [were] unjustly

enriched at Plaintiff's expense." (FAC (Dkt. No. 40) 'i\'i\ 149-53) The FAC does not plead facts

demonstrating that Plaintiff conferred a benefit on, or entered into a business relationship with,

Conduent or NJ Transit, however. While the F AC alleges that Plaintiff entered into a series of

Confidentiality Agreements with the Xerox Entities - under which Plaintiff shared its

confidential information with the Xerox Entities for the purpose of developing joint bids with

them - the F AC contains no allegations suggesting that Plaintiff ever had any business

relationship with Conduent or NJ Transit. (See id. 'i!'if 29-34) To the contrary, the F AC alleges

that the Xerox Entities - not Plaintiff - disclosed Plaintiffs trade secrets and confidential

information to NJ Transit "and other third parties" in breach of the Confidentiality Agreements.




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(See id. ,i,i 33-34, 39-40, 80-82) 3

                Because the F AC does not plead facts demonstrating that Plaintiff had a direct

relationship with, or conferred a benefit on, Conduent or NJ Transit, Plaintiff's unjust enrichment

claim under New Jersey law will be dismissed as to Conduent and NJ Transit. See,~,

M'Baye, 2007 WL 431881, at* 12 ("[P]laintiff asserts that the defendants were unjustly enriched

by the money they received for 'promoting fighters who wrongfully usurped Plaintiffs status as

Official Contender ... at Plaintiffs expense.' The money received by Main Events and English,

however, was not from plaintiff. Rather, any money that the defendants received came from a

third party .... Here, plaintiff cannot establish that he conferred a benefit on either Main Events

or English because he had no direct dealings with either of them. Accordingly, plaintiffs unjust

enrichment claims against both Main Events and English are dismissed."); Fasching, 211 N.J.

Super. at 36 ("Plaintiffs contend that ... defendants allegedly 'cashed in' on plaintiffs'



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  Plaintiff contends that the F AC' s allegation "that 'Plaintiff shared its valuable intellectual
property, trade secrets, and other confidential information with Defendants with the expectation
of remuneration in the form of future joint ventures and business contracts"' is sufficient to
establish a direct relationship between Plaintiff and both Conduent and NJ Transit. (See Pltf. Br.
(Dkt. No. 54) at 36-37 (quoting FAC (Dkt. No. 40) ,r 149)) Plaintiffs efforts to lump all of the
Defendants together and impute the acts of the Xerox Entities to Conduent and NJ Transit is
improper, however. See,~, Ochre LLC v. Rockwell Architecture Planning & Design, P.C.,
No. 12 Civ. 2837 (KBF), 2012 WL 6082387, at *6 (S.D.N.Y. Dec. 3, 2012) ("Where a complaint
names multiple defendants, that complaint must provide a plausible factual basis to distinguish
the conduct of each of the defendants. A plaintiff cannot merely 'lump[] all the defendants
together in each claim and provid[e] no factual basis to distinguish their conduct.'" (citations
omitted)), affd, 530 F. App'x 19 (2d Cir. 2013); Appalachian Enterprises, Inc. v. ePayment
Sols., Ltd., No. 01 CV 11502 (GBD), 2004 WL 2813121, at *7 (S.D.N.Y. Dec. 8, 2004) ("A
plaintiff fails to satisfy [Fed. R. Civ. P.] 8, where the complaint 'lump[s] all the defendants
together and fail[s] to distinguish their conduct' because such "allegations fail to give adequate
notice to the[] defendants as to what they did wrong.'" (citations omitted)); Zurich Arn. Ins. Co.
v. Dah Sing Bank, Ltd., No. 03 Civ. 7778 (DLC), 2004 WL 1328215, at *6 (S.D.N.Y. June 15,
2004) ("The Amended Complaint does not include a single factual allegation against Union
Bank in support of any of [its negligence, money had and received, and conversion] claims.
Instead, it lumps the three bank defendants together and asserts that they collectively processed
the checks. Th1s type of group pleading is inttdequate to state a claim against Union Bank.")

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misfortune and were unjustly enriched at plaintiffs' expense. Plaintiffs contend that had they

known defendants were publishing a book they would have expected remuneration ... No direct

relationship existed between plaintiffs and defendants[, however]. Moreover, plaintiffs did not

confer any benefit on defendants. Thus, even though plaintiffs assert that they would have

expected payment had they known defendants were publishing [a book], this fact lacks legal

significance in the absence of any benefit conferred by plaintiffs.").

IV.     LEAVETOAMEND

                In its opposition brief, Plaintiff requests leave to amend in the event that

Defendants' motion to dismiss is granted. (See Pltf. Br. (Dkt. No. 54) at 38)

                District courts "ha[ve] broad discretion in determining whether to grant leave to

amend," Gurary v. Winehouse, 235 F.3d 792, 801 (2d Cir. 2000), and leave to amend should

generally be "freely give[n] ... when justice so requires." Fed. R. Civ. P. 15(a)(2). A court may

properly deny leave to amend, however, in cases of"'undue delay, bad faith or dilatory motive

on the part of the movant, repeated failure to cure deficiencies by amendments previously

allowed, undue prejudice to the opposing party by virtue of the allowance of the amendment,

futility of amendment, etc."' Ruotolo v. City ofNew York, 514 F.3d 184, 191 (2d Cir. 2008)

(quoting Foman v. Davis, 371 U.S. 178, 182 (1962)); see also Murdaugh v. City of New York,

No. 10 Civ. 7218 (HB), 2011 WL 1991450, at *2 (S.D.N.Y. May 19, 2011) ("Although under

Rule 15(a) of the Federal Rules of Civil Procedure leave to amend complaints should be 'freely

given,' leave to amend need not be granted where the proposed amendment is futile."). "An

amendment to a pleading is futile if the proposed claim could not withstand a motion to dismiss

pursuant to Fed. R. Civ. P. 12(b)(6)." Lucente v. IBM Coro., 310 F.3d 243,258 (2d Cir. 2002)

( citation omitted).



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              Because Plaintiff has adequate remedies at law sounding in contract and tort, it is

clear that any amendment of Plaintiffs unjust enrichment claim under New York law would be

futile. Accordingly, leave to amend is denied as to Count Nine.

              As to Plaintiffs unjust enrichment claim under New Jersey law, and its unfair

competition claim against NJ Transit, this Court cannot conclude that any amendment would be

futile. Accordingly, leave to amend will be granted. Plaintiff will file any Second Amended

Complaint by October 1, 2018.

                                        CONCLUSION

              For the reasons stated above, Defendants' motion to dismiss is granted in part,

and denied in part. Plaintiffs request for leave to amend is granted. Any Second Amended

Complaint will be filed by October 1, 2018.

Dated: New York, New York
       September 'JI, 2018
                                              SO ORDERED.



                                              Paul G. Gardephe
                                              United States District Judge




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